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                                IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION for HARRISONBURG

                                CRIMINAL MINUTES - GUILTY PLEA HEARING

  Case No.: 5-10-cr-15-02                    Date: 06/25/2012

  Defendant: NAKIA HEATH KELLER Custody                            Counsel: Fred Heblich, Esq. FPD

  PRESENT:        JUDGE:                     Hon. Glen E. Conrad TIME IN COURT: 1 hour 15 mins
                  Deputy Clerk:              Susan Moody
                  Court Reporter:            Carol Jacobs
                  U. S. Attorney:            Tim Heaphy USA, Jeb Terrien, Stephen Phlegar, SAUSA
                  USPO:                      Lew Harmon, David Bean, USPO for Eric Taylor


  PROCEEDINGS:

          Court notes that deft has not been formally arraigned on Second Superseding Indictment. And that only change from
          First Superseding was a clerical change indicating Southern vs Northern District of WV. Deft acknowledges minor
          change and waives conduct of Rule 10 Arraignment Hearing

          Defendant re-arraigned as to Counts 1-10 and 13-16 of 2nd Superseding Indictment
          Defendant placed under oath. Court questions defendant regarding his physical and mental condition, and advises
          defendant of his rights, and the nature and possible consequences of plea.
          Court accepts plea of guilty as to all counts.
          Guilty plea form executed and filed.
          Government summarizes evidence to support plea and rests.
          Court finds defendant guilty as charged in Counts 1-10 and 13-16 pursuant to Rule 11 (c)(1)(C) and pending
          completion of PSR


  DEFENDANT PLEADS:



     DEF. #            GUILTY                NOT GUILTY            NOLO                      REMARKS
              Counts 1‐10 and 13‐16
     02

          Court orders Presentence Report.

          Defendant to remain in custody

          Sentencing hearing scheduled 9/6/2012 @ 930 am before Judge Conrad in Harrisonburg VA
